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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

JOHN W. WASHINGTON, as next                )
friend of Mae R. Washington,               )
                                           )
      Plaintiff,                           )
                                           )
v.                                         ) Civ. Act. No.: 2:17-cv-855-ECM
                                           )
BIO-MEDICAL APPLICATIONS                   )
OF ALABAMA, INC.,                          )
                                           )
      Defendant.                           )

                                     ORDER

      Upon consideration of the parties’ joint stipulation of dismissal (doc. 94), filed

on May 3, 2019, which comports with FED.R.CIV.P. 41(a)(1)(A)(ii), this action has

been dismissed with prejudice by operation of Rule 41, on the terms agreed to and

set out by the parties.

      The Clerk of the Court is DIRECTED to close the case.

      DONE this 7th day of May, 2019.

                                       /s/ Emily C. Marks
                                 EMILY C. MARKS
                                 CHIEF UNITED STATES DISTRICT JUDGE
